                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ROANOKE DIVISION

 DAVID MEYERS,                                 )
                                               )
                  Plaintiff,                   )     Case No. 7:18CV00029
                                               )
 v.                                            )     OPINION AND ORDER
                                               )
 U.S. POSTAL SERVICE, ET AL.,                  )     By: James P. Jones
                                               )     United States District Judge
                 Defendants.                   )

        David Meyers, Pro Se Plaintiff; Richard C. Vorhis and Ann-Marie C.White,
 Office of the Attorney General of Virginia, Richmond, Virginia, for Defendants.

       This civil rights action under 42 U.S.C. § 1983, filed pro se by Virginia

 inmate David Meyers, alleged a multitude of claims against more than two dozen

 prison officials, concerning events at Red Onion State Prison in 2017 and 2018.

 All claims but one have been previously dismissed. The remaining claim is for

 injunctive relief, based on his contention that correctional officers Swiney and

 Stallard were not protecting him from an excessive risk that fellow inmates

 Thomas and Runren would carry out their threats to rape or kill Meyers in his

 protective custody cell, given his inability to stand or walk. I also found that

 Meyers has three “strikes” under 28 U.S.C. § 1915(g), and as such that he is

 eligible to proceed without prepayment of the filing fee for this case only if he

 shows that at the time he filed this Complaint, he was in imminent danger of




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 serious physical harm. Compl. 2. I referred his remaining claim to the magistrate

 judge for further proceedings on that issue.

       United States Magistrate Judge Pamela Meade Sargent conducted an

 evidentiary hearing on August 16 and 24, 2018. She has issued a Report and

 Recommendation that summarizes the testimony and other evidence presented to

 her. The Report recommends a finding that for purposes of the exception in

 § 1915(g), Meyers has shown that at the time he filed his Complaint, he was in

 imminent danger of serious physical harm related to his one remaining claim

 against defendants Swiney and Stallard.          The parties were notified of the

 opportunity to file objections to the Report, and the allotted time for objections has

 passed with none being filed.

       I have reviewed Judge Sargent’s Report, and I am satisfied that there is no

 clear error on the face of the record. See Diamond v. Colonial Life & Accident Ins.

 Co., 416 F.3d 310, 315 (4th Cir. 2005) (“[I]n the absence of a timely filed

 objection, a district court need not conduct a de novo review, but instead must

 ‘only satisfy itself that there is no clear error on the face of the record in order to

 accept the recommendation.’”) (quoting Fed. R. Civ. P. 72 advisory committee’s

 note to 1983 addition). I have also reviewed Meyers’ motions objecting to Judge

 Sargent’s evidentiary rulings and his motions seeking to obtain and present




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 additional evidence on imminent danger. I find his objections to be without merit

 and see no need for the additional materials he seeks. 1

       For the stated reasons, it is hereby ORDERED as follows:

       1.     Meyers’ evidentiary objections are OVERRULED, and his

              motions regarding additional proceedings or evidence on

              imminent danger are DISMISSED as moot;

       2.     The Clerk shall terminate as moot the following motions: ECF Nos.

              74, 77, 78, and 83;

       3.     The Report and Recommendation, ECF No. 91, is ACCEPTED

              in its entirety; and

       4.     Meyers is GRANTED permission to proceed with this action

              without prepayment of the filing fee, pursuant to the imminent

              danger exception in 28 U.S.C. § 1915(g).

                                                  ENTER: November 6, 2018

                                                  /s/ James P. Jones
                                                  United States District Judge




       1
          Meyers has also filed motions for summary judgment and numerous motions
 seeking preliminary injunctive relief, all of which I will address in a separate opinion.

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